         Case 1:25-cr-00010-DG              Document 19         Filed 01/31/25       Page 1 of 1 PageID #: 134
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Eastern District
                                             __________         of of
                                                         District  New  York
                                                                      __________


                         United States                         )
                             Plaintiff                         )
                                v.                             )      Case No. 25 Cr. 10 (DG)
                          John Lowe                            )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         John Lowe                                                                                                     .

           
Date:
                                                                                         Attorney’s signature


                                                                                       Eric Franz (2601763)
                                                                                     Printed name and bar number


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